                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA


(1) PAUL A. ROSS,                                     )
                                                      )
                                                      )
                              Plaintiff,              )
                                                      )      Case No. 14-cv-783-JHP-PJC
v.                                                    )      State Court No. CJ-2014-04688
                                                      )
(1) SHAWN RASH,                                       )
                                                      )
                              Defendant.              )

                                   NOTICE OF REMOVAL

         Defendant Shawn Rash removes this action to the United States District Court for the

Northern District of Oklahoma pursuant to 28 U.S.C. §§ 1332(a)(1), 1441, and 1446. This action

is removable because there is complete diversity of citizenship between Plaintiff Paul A. Ross

(“Plaintiff”) and Mr. Rash, and because the amount in controversy, exclusive of interest and

costs, exceeds the sum or value of $75,000.00, as shown on the face of the Petition. In support of

this Notice of Removal, Mr. Rash states as follows:

                                       Procedural History

         1.     On December 9, 2014, Plaintiff filed a Petition (the “Petition”) against Mr. Rash

commencing the civil action styled Paul A. Ross v. Shawn Rash, Case No. CJ-2014-04688,

District Court of Tulsa County, State of Oklahoma (the “State Court Action”).

         2.     The Return of Service filed in the State Court Action shows that service was

effected on Mr. Rash by Certified Mail on December 13, 2014. Mr. Rash has thus filed this

notice of removal within the 30-day period provided by 28 U.S.C. § 1446(b).

         3.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule LCvR 81.2, Mr. Rash has

attached as exhibits to this Notice of Removal true and legible copies of all documents filed or



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served in the State Court Action. A copy of the Docket Sheet from the State Court Action is

attached as Exhibit 1. A copy of the Petition is attached as Exhibit 2. A copy of the Entry of

Appearance for Plaintiff’s counsel is attached as Exhibit 3. A copy of the Proof of Service is

attached as Exhibit 4. Mr. Rash will also file a Status Report on Removed Action in compliance

with the Local Rule.

         4.     As of the time of filing this Notice of Removal, there have been no other filings or

proceedings in the State Court except those attached as Exhibits 2-4.

                                     Amount in Controversy

         5.     As shown on the face of the Petition, the amount in controversy exceeds $75,000

(exclusive of interest and costs). (See Ex. 2 at ¶ 31 (“As a result of Defendants’ [sic] false

statements, Plaintiff has been damaged in an amount in excess of the amount required for

diversity jurisdiction pursuant to Section 1332 of Title 28 of the United States Code.”).)

                                      Diversity of Citizenship

         6.     Mr. Rash is a citizen and resident of the State of Texas, as stated on the face of the

Petition. (Ex. 2 at ¶ 2.)

         7.     Plaintiff is a citizen and resident of the State of Oklahoma, as stated on the face of

the Petition. (Ex. 2 at ¶ 1.)

         8.     Therefore, there is complete diversity of citizenship between Plaintiff and

Defendant in accordance with 28 U.S.C. § 1332.

                                            Conclusion

         9.     This is a civil action over which this Court has original subject matter jurisdiction

pursuant to the provisions of 28 U.S.C. § 1332. Furthermore, this action is one which may be

removed to this Court by Defendant pursuant to the provisions of 28 U.S.C. § 1441 in that it is a




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civil action between citizens of different states, and the matter in controversy exceeds the sum or

value of $75,000.00, exclusive of interest and costs.

         10.   Venue is appropriate in this Court as this Court is in the district in which the

underlying state court action was pending. 28 U.S.C. § 1441.

         11.   Pursuant to 28 U.S.C. § 1446(d), Mr. Rash will promptly provide Plaintiff with

written notice of removal of this action and will file a copy of this Notice of Removal with the

Clerk of the Tulsa County District Court.

         12.   Therefore, under the applicable provisions of 28 U.S.C. §§ 1332, 1441 and 1446,

Mr. Rash has complied with all necessary requirements and is entitled to remove this action.

         WHEREFORE, Mr. Rash hereby removes all claims in the Action from the District

Court for Tulsa County, Oklahoma, to the United States District Court for the Northern District

of Oklahoma.

         Dated: December 31, 2015

                                                 Respectfully submitted,


                                                 s/Barbara M. Moschovidis
                                                 James M. Sturdivant, OBA No. 8723
                                                 Barbara M. Moschovidis, OBA No. 31161
                                                 GABLEGOTWALS
                                                 1100 ONEOK Plaza
                                                 100 West Fifth Street
                                                 Tulsa, Oklahoma 74103
                                                 (918) 595-4800
                                                 (918) 595-4990 (Fax)
                                                 Attorneys for Defendant Shawn Rash




{1325759;}
                                 CERTIFICATE OF SERVICE

       I certify that on December 31, 2015, I mailed a copy of the Notice of Removal, postage
prepaid, to the following counsel of record:

         Thomas L. Vogt
         Patrick G. Colvin
         Jones, Gotcher & Bogan, P.C.
         15 East 5th Street, Suite 3800
         Tulsa, Oklahoma 74103

      I further certify that a copy of the Notice of Removal was also delivered for filing on the
same date to the Clerk of the District Court of Tulsa County, State of Oklahoma.

                                                s/Barbara M. Moschovidis
                                                Barbara M. Moschovidis




{1325759;}
                         EXHIBIT
                            1




{Exhibit Slip Sheets;}
OCIS Case Summary for CJ-2014-4688- ROSS, PAUL A v. RASH, SHAWN (Tulsa Cou... Page 1 of 3




   IjOSCN                             The Oklahoma S t a t e C o u r t s N e t w o r k

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                       IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA
                   1
                                                                                 No. CJ-2014-4688
                                                                                 (Civil relief more than S10,000:
PAUL A ROSS,
                                                                                 BREACH OF AGREEMENT - CONTRACT)
          Plaintiff,
                                                                                 Filed: 12/09/2014
SHAWN RASH,
          Defendant.

                                                                                 Judge: Sellers, JefTerson D.


Parties

RASH, SHAWN , Defendant
ROSS, PAULA, Plaintiff


Attorneys

Attorney                                                                         Represented Parties
COLVIN, PATRICK G{Bar# 31519)                                                    ROSS, PAUL A
15E5TH ST STE 3800
TULSA, OK 74103
               I


Vogt, Thomas Lane{Bar# 10995)                                                    ROSS, PAUL A
Joens, Giyens, Gotcher & Bogan
15 East 5th Street
Suite 3800
Tulsa, OK 74103



Events


Event                              Party                             Docket                                  Reporter


Issues

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.




Issue # 1.                                                     Issue: BREACH OF AGREEMENT - CONTRACT (CONTRACT)
                                                               Filed by: ROSS, PAULA
                                                               Filed Date: 12/09/2014
                       Party Name:                             Disposition Information:


                       Defendant: RASH. SHAWN                  Pending.

Docket




http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=CJ-2014-04688...                                                              12/30/2014
OCIS Case Summary for CJ-20I4-4688- ROSS, PAUL A v. RASH, SHAWN (Tulsa Cou... Page 2 of 3


Date        Code           Count    Party        Serial #   Entry Date
12-09-2014 TEXT            1                     92204903   Dec9 2014 3:58:45:490PM                  $0.00
            CIVIL RELIEF MORE THAN $10,000 INITIAL FILING.

12-09-201 4 CONTRACT                             92204906   Dec 9 2014 3:58:45:960PM   Realized      $0.00
            BREACH OF AGREEMENT - CONTRACT

12-09-2014 DMFE                                  92204907   Dec 9 2014 3:58:46:030PM   Realized      $2.00
            DISPUTE MEDIATION FEE($ 2.00)

12-09-201 4 PFE1                                 92204908   Dec 9 2014 4:04:05:340PM   Realized    $163.00
            PETITiON{$ 163.00)
            E DocumentAvailable (#1027830634)
12-09-2014 PFE7                                  92204909   Dec 9 2014 3;5B:46:030PM   Realized      $6.00
            LAW LIBRARY FEE{$ 6.00)

12-09-201   OCISR          -                     92204910   Dec 9 2014 3:58:46:030PM   Realized     $25.00
            OKLAHOMA COURT INFORMATION SYSTEM REVOLVING FUND($ 25.00)

12-09-201   CCADMIN02      -                     92204911   Dec9 20i4 3:58;46;030PM    Realized      $0.20
            COURT CLERK ADMINISTRATIVE FEE ON $2 COLLECTIONS($ 0.20)

12-09-2014 OCJC            -                     92204912   Dec 9 2014 3:58:46:030PM   Realized      $2.00
            OKLAHOMA COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND{$ 2.00)

12-09-201   OCASA          -                     92204913   Dec9 2014 3;58:46:030PM    Realized      $5.00
            OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES{$ 5.00)

12-09-201   CCADMiN04      -                     92204914   Dec 9 2014 3:58:46:030PM   Realized      $0.50
            COURT CLERK ADMINISTRATIVE FEE ON COLLECTIONS($ 0.50)

12-09-201 4 LTF                                  92204915   Dec 9 2014 3:58:46:750PM   Realized     $10.00
            LENGTHY TRIAL FUND($ 10.00)

12-09-201 4 SMF                                  92204916   Dec 9 2014 3:58:46:920PM   Realized      $5.00
            SUMMONS FEE (CLERKS FEE)($ 5.00)

12-09-2014 SMIMA           -                     92204917   Dec920i43:58:47:ii0PM      Realized      $0.00
            SUMMONS ISSUED - MAILED BY ATTORNEY

12-09-201   EAA            -        ROSS,PAULA 92211169     Dec 10201411:14:09:000AM   -             $0.00
            ENTRY OF APPEARANCE/ THOMAS L VOGT AND PATRICK G COLVIN ENTERING AS
            COUNSEL / CERTIFICATE OF MAILING
            Hi DocumentAvailable (#1028045195)
12-09-201   TEXT           -                     92204905   Dec 9 2014 3:58:45:790PM   -             $0.00
            OCIS HAS AUTOMATICALLY ASSIGNED JUDGE SELLERS, JEFFERSON D. TO THIS CASE.




http://www.oscn.net/applications/oscn/GetCaseInfonnation.asp?number=CJ~2014-04688...              12/30/2014
OCIS Case Summary for CJ-2014-4688- ROSS, PAUL A v. RASH, SHAWN (Tulsa Cou... Page 3 of 3


Date            Code              Count       Party          Serial #      Entry Date
12-09-2014 ACCOUNT                -                          92204934      Dec 9 2014 3:59:47:610PM           $0.00
                RECEIPT# 2014-2988400 ON 12/09/2014.
                PAYOR:JONES GOTCHER TOTAL AMOUNT PAID: $218.70.
                LINE ITEMS:
                CJ-2014-4688: $168.00 ON AC01 CLERK FEES.
                CJ-2014-4688: $6.00 ON AC23 LAW LIBRARY FEE.
                CJ-2014-4688: $0.70 ON AC31 COURT CLERK REVOLVING FUND.
                CJ-2014-4688: $5.00 ON AC58 OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES.
                CJ-2014-4688: $2.00 ON AC59 OKLAHOMA COUNCIL ON JUDICIAL COMPLAINTS
                REVOLVING FUND.
                CJ-2014-4688: $2.00 ON AC64 DISPUTE MEDIATION FEES.
                CJ-2014-4688: $25.00 ON AC79 OCIS REVOLVING FUND.
                CJ-2014-4688: $10.00 ON AC81 LENGTHY TRIAL FUND.

12-15-201 4S                                  RASH, SHAWN 92271827        Dec 16 2014 11:27:31:830AM   -      $0.00
                PARTY HAS BEEN SUCCESSFULLY SERVED. FOR SHAWN RASH / BY CERT MAIL, SIGNED
                SHAWN RASH/12-13-14
                IBDocument Available (#1028048986)

Report Generked byTheOklahoma Court Infonmation System at December 30,2014 11:40 AM
End of Transmission.




http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=CJ-2014-04688...                       12/30/2014
                         EXHIBIT
                            2




{Exhibit Slip Sheets;}
                                    *1027830834*


                     IN THE DISTRICT COURT OF TULSA COUNTY
                                     STATE OF OKLAHOMA
                                                                                  DISTRICT CODRT
PAU      A. ROSS,                                                               filed
                       Plaintiff,
                                                                                        DEC-9 20M
V.                                                         Case No.


SHA WNRASH,
                                                                               wwsw
                       Defendant.                  CJ-2014 04688
                                            PETITION
                                                               ^JEFFERSON D. SELLERS
         COMES NOW the Plaintiff Paul A. Ross ("Plaintiff'), through his counsel of record,

Thomas L. Vogt and Patrick G. Colvin ofthe law firm Jones, Gotcher &Bogan, P.O., and for his
Petition against Defendant Shawn Rash ("Defendant"), alleges and states as follows:
                                    JURISDICTION AND VENUE

         1.     Plaintiff is a resident ofTulsa County, Oklahoma.

         2.     Upon information and belief, Defendant isaresident ofGillespie County, Texas.
         3.     The acts which give rise to this action occurred inTulsa County, Oklahoma.
         4.     Jurisdictionand venue are proper in this Court.

                                     FACTUAL BACKGROUND

          5.    Plaintiff served as Chief Executive Officer ("CEO") of Acumen Energy

Solutions, Inc. (hereinafter "AES") (filc/a American Energy Solutions, Inc.) from March 2011
through June 2014. Plaintiff served as the Chairman ofAES from March 2011 through October            •;.-3



                                                                                                     I"?
 2013.                                                                                               r • t



          6.    At alltimes relevant ho'eto. Defendant was the President of AES.            r'.=o
                                                                                              '
                                                                                                      \jd
                                                                                            Cr.piT    -T)
          7.    AES provides a comprehensive suite ofprofessional energy management ?^M^s ^
 tailored to owners/operators ofcommercial, industrial, and institutional facilities.                  ^


                                             Page 1 of 5
       8.     The client list of AES includes, but is not limited to. Acme Brick, CAT logistics,

FedEx, Albertsons, St. Luke's Healthcare System, Omni Hotels, andJohnsManville.

       9.     Plaintiffdeveloped significant relationships with these clients during histenure as

the Cllairman and CEO of AES.

       10.    Plaintiffs relationships have significant value because they allow for future
business opportunities in theenergy management services industry.

       11.    AES is wholly owned by Palo Verde Private Equity Fund, L.P. (the "Fund"),
which is currently inreceivership proceedings in Maricopa County, Arizona.

       12.    Since October 9, 2013, Peter S. Davis of Simon Consulting, LLC has served as

the Reiver for the Fund and its assets.

       13.    On May 14,2014, Plaintiff loaned Defendant $7,108.20.

       14.    Defendant has failed and refused to repayPlaintifffor the loan.

       15.    Throughout the 2014 calendar year. Defendant falsely stated to the Receiver of
the Fund, the General Manager ofPrecision-Paragon, and various executives at Johns Manville
thatP iaintiffmisappropriated fimds of AES.


       16.     On or around June 30, 2014, Peter S. Davis terminated Plaintiff as the CEO of
AES because of Defendant's false statement


        17.    Defendant is currently the President of Ally Energy Solutions, Inc., which
provides substantially similar services as AES.
        18.    Defendant continues to make false statements about Plaintiff, e.g., 'Tlaintiff

mismanaged AES," to former business partners ofAES including, but not limited to, Precision-
Paragon.




                                           Page 2 of 5
       19.     Defendant has also continued to make these false statements to former clients of

AES including, but not limited to, Johns Manville.

       20.     Defendant's false statements have significantly damaged Plaintiffs reputation in

the enprgy management services business.

       21.     Defendant's statements are false, unprivileged, and have directly injured Plaintiff

in respect to his business by imputing general disqualification in those respects which Plaintiff's
occupation peculiarly requires and by imputing something with reference to his business that has
a naturaltendencyto lessen its profit.

                                 FIRST CAUSE OF ACTION
                                     Breach of Contract


        22.    Plaintiffincorporates paragraphs 1- 21 asif fully set forth herein.
        23.    There was a valid and enforceable contract betwe«i Defendant and Plaintiff,

wherein Plaintiff agreed to loan $7,108.20 to Defendant and Defendant agreed to repay same to
Plaintiff.

        24.    Defendant breached thecontract byfailing to repay any of the $7,108.20.

        25.    Defendant's breach has damaged the Plaintiffinthe amount of$7,108.20.
                                SECOND CAUSE OF ACTION
                                             Slander


        26.     Plaintiffincorporates par^aphs 1- 21 asiffully set forth herein.
        27.     Throu^out the 2014 calendar year, Defendant falsely stated to the Receiver of
the Fmd, the General Manager ofPrecision-Paragon, and various executives at Johns Manville
 that Plaintiff misappropriated fimds ofAES.




                                            Page 3 of 5
       28.     Defendant continues to make false statements about Plaintiff, e.g., "Plaintiff

mismanaged AES," to fonner business partners of AES including, but not limited to, Precision-

Paragon.

       29.     Defendant has also continued to make these false statements to former clients of

AES including, but not limitedto, JohnsManvilie.

       30.     These statements are false, unprivileged, and have directly injured Plaintiff in

respect to his business by imputing general disqualification in those respects which Plaintiffs
occupation peculiarly requires and by unputing something with reference to his business that has
a natural tendency to lessen its profit.

       31.     As a result of Defendants* false statements. Plaintiff has been damaged in an

amouit in excess of the amount required for diversity jurisdiction pursuant to Section 1332 of

Title 28 of the United States Code.

        32.     Defendant is also liable for Category II punitive damages because he has acted

intentionally and with malice towards Plaintiff. Accordingly, he isliable for punitive damages in
an amount not to exceed the greatest of:

                a.      Five Hundred Thoiisand Dollars ($500,000);

                b.      twice the amount ofactual damages awarded; or

                c.      the increased financial benefit derived by the defendant as a direct result
                        of the conduct causing the injury to the plaintiff.




                                            Page 4 of 5
       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that this

court enter judgment in his favor and against Defendant, award Plaintiff actual damages in an


amovint in excess of the amount required for diversity jurisdiction pursuant to Section 1332 of

Title 28 of the United States Code, award Plaintiff exemplary damages in an amoimt to be

deternined at trial, award Plaintiffhis attorney's fees and costs, and grant any additional relief

this Court deems just and equitable.


                                                By: -fcJUjL         Jr. 0*4^
                                                    Thomas L. Vogt, DBA 10995
                                                    Patrick G. Colvin, OBA 31519
                                                    Jones, Gotcher & Bogan, P.C.
                                                    15 East 5*^ Street, Ste. 3800
                                                    Tulsa, OK 74103-4309
                                                    tvogt@ionesgotcher.com
                                                    DColvin@ionesgotcher.com
                                                    Attorneysfor PlaintiffPaulA, Ross




                                           Page 5 of 5
                         EXHIBIT
                            3




{Exhibit Slip Sheets;}
                                                                                     *10 2 8 0 4 sT 9 5
               IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
                             STATE OF OKLAHOMA


PAULA. ^OSS,
                                                                             piS^CT CODRT

                             Plaintiff,
                                                                               DEC-9 2014
V.                                                         Case No.


SHAWN tASH,


                             Defendant.
                                                  CJ-2014 04688
                                                   )
                                                                                 D. SELLERS
                                ENTRY OF APPEARANCE


       COME NOW Thomas L. Vogt and Patrick G. Colvin, of the law firm of Jones, Gotcher

& Bogan, P.O., and enters their appearance as counsels of record on behalf of Plaintiff, Paul A.

Ross, in the above-styled and numbered matter.



                                                   Respectfully submitted,


                                                                      M' PiJIaA a.
                                                   Thomas L. Vogt, OBA# 10995
                                                   Patrick G. Colvin, OBA# 31519
                                                   Jones, Gotcher & Bogan, P.C.
                                                   15 East Fifth Street, Suite 3800
                                                   Tulsa, Oklahoma 74103
                                                   Telephone:    (918)581-8200
                                                   Facshnile:    (918)583-1189
                                                   Attorneysfor Plaintiff
                                                                                     CO

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                                                                                           o
                                CERTIFICATE OF MAILING

       I hereby certify that on the      ofDecember,2014,1 caused a true and correct copy of
the above and foregoing Entry of Appearance, to be mailed in the U.S. Mail, with postage fUlly
prepaid thereon, to:

Shawn Rash
2156 Hedgestone
Fredericksburg, TX78624


                                                                       M »(j^A
                                                         Patrick G. Colvin
                         EXHIBIT
                            4




{Exhibit Slip Sheets;}
PAUL A. ROSS,
                                                            '•""CJ-8014 ^4481
                      Plaintiffs,                           Attorneys for Plaintiff:
                                                            Thomas L. Vogt, OBA# 10996
vs.                                                         Patrick G. Colvin, OBA #31519
                                                            Jones, Gotcher & Bogan, P.C.
SHAWN RASH,
                                                             3800 First Place Tower
                      Defendants.                            15 East Fifth Street
                                                             Tulsa, Oklahoma 74103-4309
TO THE NAMED DEFENDANT:
SHAWN I^SH                          DISTRICT COURT
 2156 Hedgestone          FILE                           Appointed to serve.
 Fredericksburg, TX 78624  DEC 15 2014                   PSL#


                               SAliY HOWE SMITH. COURT CLERK Authorized bv
                                STATE OF OWATUISACOUMTY Aumorizea oy


You have been sued by the above named plaintiff(s) and you aredirected tofile a written answer tothe
attached pe^n 3tffdj>rder in the Court atthe above address within twenty (20) days after service of this
Summons u^n y^jj^^idblusive ofthe day ofservice. Within the same time, acopy ofyouranswer must be
delivered oSiail^c^iOie attorney for the plaintiff. Unless you answer the Petition within the time stated,
judgmental beoeg^&red againstyou with costs ofthis action.


Issued this         day of December 2014.
                                             TULSA COUNTY COURT CLERK

(Seal)

                                             By.                                      Deputy Court Clerk



This Summons and Order was personally served on
                                               (date of service)




                                                             (Signature of person serving summons)




YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED WITH THIS SUITOR YOUR
ANSWER. SUCH ATTORNEY SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE
FILEDWITHIN THE TIME LIMIT STATED IN THIS SUMMONS.

                                          Return ORIGINAL for filing.
                                Plaintiffs,                                  Attorney for Plaintiff:
                                                                             Thomas L. Vogt,         10995
     vs.                                                                     Patrick G. Colvin, OBA #31519
                                                                             Jones, Gotcher & Bogan, P.O.
     SHAWN RASH,
                                                                             3800 First Place Tower

                                Defendants.                                  15 East Fifth Street
                                                                             Tulsa, Oklahoma 74103-4309
                                                        PERSONAL SERVICE

Icertify thatIreceived theforegoing summons the                 day of.             2014, and that I delivered a copy of said summons
                                                                                   dantspersonally in             County at the address

                  Defendant                                       Address                                 Date Receipted



                                                    USUAL PLACE OF RESIDENCE
Icertify that Ireived the foregoing summons on the                     day of,              , 2009, and that on            , I served by
   .leaving a copy ofsaid summons with a copy ofthepetition and order attached at                        which is his dwelling
house or usual place of abode, with                , a person then residing therein, who isfifteen (15) years ofage orolder.
                                                        CORPORATION RETURN
Received this summons this            day of            . 2009. and as commanded therein, Isummoned the within named defendant,
as follows, to wit:                              corporation, on the day of                  .2009, by delivering a true and
correct copy of the within summons hereof v^th endorsements thereon and a copy of the petition to               he being the
       ofsaid corpjoration, and the            President, Vice-Presldent, Secretary. Treasurer, orotherchiefofficer not being found in
said County.
                                                                NOT FOUND
 Received this summons this            day of.                    , 2009. Icertify that the following persons ofthe defendant(s) within
named                         not                      found                       in                   said                    County:

                                                                      FEES
Fee for service                                                       Mileage $_                                               , Total $

 Dated this           day of.                              _, 2014.
 Sheriff
By:.                                                       _               By:
 Deputy-Tulsa County, Oklahoma                                                     Process Server-Tulsa County, Oklahoma
                                                                 AFFIDAVIT


 I                      ., the undersigned, under oath, do say that Iserved this summons and made the retum thereon, according
to law that I am duly authorized to make this affidavit so help me God.

                                                                 Process Server

Subscribed to and sworn to before me this              day of                               , 2014.
                                                                 Sally HoweSmith, Court Clerk

MyCommissior
                                                                 Deputy CourtClerkor Notary Public
         Defendant                                            Ad(dress Where Sen/ed                                               Date Receioted


SHAWN RASH                                        2156 Hedgestone
                                                  Fredericl<sburg, TX 78264                                             1^/ /3/^i4
                                                                                     ^cJlJL m. oJU^
                                                                                    Signature of person mailing summons




                                             U.S. Postal Service -
                                             CERTIFIED MAIL™ RECEIPT
                                             (Domestic Mail Only; No Insurance Coverage Provided)
                                             For delivery irsformatlon visit our website at www.usps-com;;




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                                                                                                     Postmark
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                                      ^     (Endorsement Required)

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         SENDER; CO
                                                                             A Signature
         m Complete Items 1,2, and 3. Also complete                                                                          • Agent
               ttem4-tfRaetricted Delivery is desired.                                                            ^          •   Addressee
             • Print your name and addressonthe reverse -
               so that we can return the card to you.                                                                  0. Date of Dettveiy
             a Attach this card to the back of the m«^lpleoe,                                                           I5|3-(
             ^ oronthefront If space permits.                                D. Is deUveiy address cfifferent from Item 1? PYes
                                  —
             i/ArticleAddressed to:                                    -.i      If YES, enter deltvery address below P No

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                                                                                                      ^Return F
                                                                                •    Insured Mall     •D C.OJ-
                                                    lBie2A                                               C.OD.
                                                                             4. Rastricted Delivefy? {Extra Fee)

             2. Article Number-
                (Transfwtmim                          7D13 1710 DQOl                                 E347
